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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Rondi Sueann Boudreau,                                              Court File No. ________
f/k/a Rondi Sueann Nickolauson,

                        Plaintiffs,                      NOTICE OF REMOVAL
                                                             OF ACTION
v.

Ally Financial, Inc.,

                        Defendant.


TO:    THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
       MINNESOTA:

       Defendant Ally Financial, Inc. (“Ally”) removes the above-titled action from the

District Court for the County of Dakota, State of Minnesota, to the United States District

Court for the District of Minnesota and alleges as follows:

       1.      This Court has original jurisdiction over this action because Plaintiffs bring

claims and seek damages and relief under the Telephone Consumer Protection Act (“TCPA”)

47 U.S.C. § 227, et seq. Therefore, this action is one in which the United States District

Court for the District of Minnesota has original federal jurisdiction under 28 U.S.C. §1331,

and this action may be removed to this Court by Ally pursuant to 28 U.S.C. §1441(a).

       2.      Ally received a copy of the Summons and Complaint (attached hereto as

Exhibit A) on or after June 21, 2012.




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        3.    Ally served a copy of its Answer (attached hereto as Exhibit B) on July 18,

2012.

        WHEREFORE, Defendant removes this action from Dakota County District Court,

State of Minnesota, to the United States District Court for the District of Minnesota

                                             MESSERLI & KRAMER, P.A.

Dated: July 19, 2012                         s/ Joshua A. Hasko
                                             Joshua A. Hasko (#303471)
                                             Kristy A. Saum (#0346974)
                                             100 South Fifth Street, Suite 1400
                                             Minneapolis, MN 55402-4218
                                             Telephone: (612) 672-3600
                                             jhasko@messerlikramer.com

                                             ATTORNEYS FOR DEFENDANT ALLY
                                             FINANCIAL, INC.




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                                        VERIFICATION

           I, Joshua A. Hasko, declare as follows:

           I am the attorney for Ally Financial, Inc., and have read the foregoing Notice of

Removal of Civil Action to United States District Court and know the contents thereof. I am

informed and believe that the matters stated therein are true and on that ground allege that the

matters stated therein are true.

           I declare under penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.

           Executed this 19th day of July, 2012, at Minneapolis, Minnesota.


                                                       s/ Joshua A. Hasko
                                                       Joshua A. Hasko

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